
83 So.3d 957 (2012)
Rudolph COLLINS, Appellant,
v.
The STATE of Florida, Appellee.
No. 3D10-1715.
District Court of Appeal of Florida, Third District.
March 14, 2012.
Carlos J. Martinez, Public Defender, Eleventh Judicial Circuit, and Daniel Tibbitt, Assistant Public Defender, for appellant.
Pamela Jo Bondi, Attorney General, and Michael W. Mervine, Assistant Attorney General, for appellee.
Before ROTHENBERG and SALTER, JJ., and SCHWARTZ, Senior Judge.
PER CURIAM.
Affirmed. See Whitehead v. State, 21 So.3d 157 (Fla. 4th DCA 2009); Harris v. State, 959 So.2d 794 (Fla. 2d DCA 2007); Guzman v. State, 934 So.2d 11 (Fla. 3d DCA 2006); Guion v. State, 753 So.2d 628 (Fla. 5th DCA 2000); State v. Williams, 465 So.2d 1229 (Fla.1985); Lewis v. State, 377 So.2d 640 (Fla.1979).
